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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA

 AKRUM WADLEY, et al.,                     )
                                           )       Case No. 4:20-cv-00366-SMR-HCA
                Plaintiffs                 )
                                           )       PLAINTIFFS’ COMBINED MOTION
 v.                                        )       TO AMEND FIRST AMENDED
                                           )       COMPLAINT AND TO ADD
 UNIVERSITY OF IOWA, et al.,               )       PARTIES
                                           )
                Defendants.                )       Hearing Requested


       Pursuant to Rule 15 of the Federal Rules of Civil Procedure and LRs 7 and 15, the

Plaintiffs respectfully move the Court for leave to file the attached Second Amended

Complaint adding claims and parties. In support of the instant Motion, Plaintiffs state as

follows:

       1.      Rule 15 provides that “a party may amend its pleading [with] the court’s

leave” and that “[t]he court should freely give leave when justice so requires.” Fed. R. Civ.

P. 15(a)(2).

       2.      Presently, the Court-imposed deadlines are as follows:

       Jury Trial                                                       03/06/2023
                                                                        9:00 AM
       Final Pretrial Conference                                        02/16/2023
                                                                        10:30 AM
       Initial Disclosures                                              06/18/2021

       Motions to Add Parties                                           04/08/2022

       Motions for Leave to Amend Pleadings                             04/08/2022

       Plaintiffs’ Expert Identification & Report(s)                    05/02/2022


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       Defendants’ Expert Identification & Report(s)                   07/05/2022

       Plaintiffs’ Rebuttal Expert Identification & Report(s)          08/01/2022

       Discovery Cutoff                                                09/13/2022

       Dispositive Motions                                             10/03/2022

       3.      Plaintiffs move to file the attached Second Amended Complaint within the

time permitted by the Court’s scheduling order as to motions for leave to amend pleadings

and motions to add parties.

       4.      Through the instant Motion and their proposed Second Amended Complaint,

Plaintiffs seek to:

            a. add Seth Wallace as an additional defendant to Plaintiffs’ previously asserted
               § 1981 claim (Count IV of the First Amended Complaint (Doc. 15); now
               reflected in Count II of Plaintiffs’ proposed Second Amended Complaint);

            b. assert, on behalf of Plaintiffs Mends, Simon, and Foy only, additional claims
               under § 1983 and the Equal Protection Clause of the Fourteenth Amendment
               against Seth Wallace, Brian Ferentz, and Chris Doyle (reflected in Count III
               of Plaintiffs’ proposed Second Amended Complaint);

            c. assert, on behalf of Plaintiffs Mends, Simon, and Foy only, an additional
               claim under § 1983 and the Equal Protection Clause of the Fourteenth
               Amendment against Kirk Ferentz (reflected in Count IV of Plaintiffs’
               proposed Second Amended Complaint).

            d. assert, on behalf of Plaintiffs Mends, Simon, and Foy only, an additional
               claim under § 1983 and the Equal Protection Clause of the Fourteenth
               Amendment against Gary Barta (reflected in Count V of Plaintiffs’ proposed
               Second Amended Complaint).

            e. assert, on behalf of Plaintiff Parker only, a retaliation claim under § 1981
               against Kirk Ferentz (reflected in Count VI of Plaintiffs’ proposed Second
               Amended Complaint).




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       5.      Allowing Plaintiffs to file the Second Amended Complaint would serve the

interests of justice.

       6.      Further, there would be no undue prejudice, bad faith, undue delay, or futility

involved in granting Plaintiffs leave to amend to file the attached Second Amended

Complaint.

       7.      Counsel for Plaintiffs has conferred in good faith with counsel for

Defendants concerning this Motion. Counsel for Defendants has indicated that Defendants

do not consent to this Motion.

       8.      Plaintiffs respectfully submit the attached Brief in Support of the instant

Motion.

       WHEREFORE, premises considered, Plaintiffs respectfully request that the Court

grant Plaintiffs leave to amend its First Amended Complaint and instruct the Clerk of Court

to detach and docket the attached proposed Second Amended Complaint.

                                           Respectfully submitted,

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